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            EXHIBIT E
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        DV-110                              Temporary Restraining Order
                                                                                                       Clerk stamps date here when form is filed.



                ✔    Original Order                            Amended Order
   Instruction: The person asking for a restraining order must complete
    1 , 2 , and 3 only. The court will complete the rest of this form.

  1 Protected Person (name): Rula Nabil Khoury Cavaco Dias

  2 Restrained Person
        *Full Name: Casimiro Jose Canha Cavaco Dias                                              Fill in court name and street address:
        *Gender: ✔ M       F        Nonbinary *Race: O                                            Superior Court of California, County of
        *Age: 45 (estimate, if age unknown) Date of Birth: 02/01/1979                             Alameda
                                                                                                  Hayward Hall of Justice
        Height:      6'0                            Weight:                                       24405 Amador Street
        Hair Color: BLK                             Eye Color: BRO                                Hayward, CA. 94544
        Relationship to person in 1 : Husband
        Address of restrained person: Ruben Zadaryan Street 32                                   Court fills in case number when form is filed.
        City: Yerevan, Armenia                State:         Zip:                                 Case Number:
        Firearms, firearm parts, or ammunition that restrained person may have:                                   24FL092755
        (Include information from form DV-100, item 9)




         (Information that has a star (*) next to it is required to add this order
         into a California police database. Give all the information you know.)

  3      ✔    Other Protected People
        In addition to the person named in 1 , the people listed below are protected by the orders listed in 9 through 12 .
         Full name                                                               Relationship to person in 1                           Age
         Ines Madalena Khoury Cavaco Dias                                         Daughter                                             9
         Nuria Lucia Khoury Cavaco Dias                                           Daughter                                             8
         Casimiro Afonso Khoury Dias                                              Son                                                  6
         Jane Khoury                                                              Sister                                               44
              Check here if you need to list more people. List them on a separate piece of paper, write "DV-110, Other
              Protected People" at the top, and attach it to this form.

                                                     (The court will complete the rest of this form)

  4 Your Hearing Date (Court Date)

                                   This order expires at the end of the hearing listed below:
                                   Hearing Date: 05/06/2025                          Time: 01:30                           a.m.    ✔   p.m.

                                This order must be enforced throughout the United States. See page 7.
                                                               This is a Court Order.
Judicial Council of California, www.courts.ca.gov
Rev. January 1, 2025, Mandatory Form                     Temporary Restraining Order                                            DV-110, Page 1 of 9
Family Code, § 6200 et seq.
Approved by DOJ
                                                    (CLETS-TRO) (Domestic Violence Prevention)
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 To the Person in 2 : The judge has granted temporary orders. See 5 through 21 . If you do not obey
 these orders, you can be charged with a crime, go to jail or prison, and/or pay a fine. It is a felony to take or hide
 a child in violation of this order.


  5      No Firearms (Guns), Firearm Parts, or Ammunition
          a. You cannot own, possess, have, buy or try to buy, receive or try to receive, or in any other way get any
             prohibited item listed below in b.
          b. Prohibited items are:
            (1) Firearms (guns);
             (2) Firearm parts, meaning receivers, frames, and any item that may be used as or easily turned into a receiver or
                 frame (see Penal Code section 16531); and
             (3) Ammunition.
         c. Within 24 hours of receiving this order, you must sell to or store with a licensed gun dealer, or turn in to law
            enforcement, any prohibited items you have in your immediate possession or control.

         d. If law enforcement asks you for your prohibited items, you must turn them over immediately.

         e. Within 48 hours of receiving this order, you must file a receipt with the court that proves all prohibited items
            have been turned in, sold, or stored. (You may use form DV-800/JV-270, Receipt for Firearms, Firearm
            Parts, and Ammunition.) If law enforcement served you with the restraining order, you must give a copy of the
            receipt to that law enforcement agency.




  6           Restrained person has prohibited items
          The court finds that you have the following prohibited items:
          a. Firearms and/or firearm parts
                                                                                                      Proof of compliance
              Description (include serial number, if known)            Location, if known             received by the court
             (1)                                                                                         (date):
             (2)                                                                                          (date):
             (3)                                                                                          (date):
             (4)                                                                                          (date):

          b. Ammunition
                                                        Amount, if                                    Proof of compliance
             Description                                known          Location, if known             received by the court
             (1)                                                                                         (date):
             (2)                                                                                         (date):


                                                    This is a Court Order.
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  7            Court Hearing to Review Firearms (Guns), Firearm Parts, and Ammunition Compliance
         In addition to the hearing listed on form DV-109, item 3 , you must attend the court hearing listed below to prove
         that you have properly turned in, sold, or stored all prohibited items (described in 5 b) you still have or own,
         including any items listed in 6 . If you do not attend the court hearing listed below, a judge may find that you
         have violated the restraining order and notify law enforcement and a prosecuting attorney of the violation.
                                                                        Name and address of court, if different than court
                                                                        address listed on page 1
                        Date:                  Dept.:
                        Time:                  Room:




  8       No Body Armor
          You cannot own, possess, or buy body armor (defined in Penal Code section 16288). You must relinquish any body
          armor you have in your possession.



  9       Cannot Look for Protected People
          You must not take any action to look for any person protected by this order, including their addresses or locations.
               If checked, this order was not granted because the judge found good cause not to make the order.



 10      Order to Not Abuse                Not requested        Denied until the hearing      ✔ Granted as follows:

         You must not do the following things to the person in 1 and any person listed in 3 :
             Harass, attack, strike, threaten, assault (sexually or otherwise), hit, follow, stalk, molest, destroy personal
             property, keep under surveillance, impersonate (on the internet, electronically, or otherwise), block movements,
             annoy by phone or other electronic means (including repeatedly contact), or disturb the peace.

             "Disturb the peace" means to destroy someone's mental or emotional calm. This can be done directly or
             indirectly, such as through someone else. This can also be done in any way, such as by phone, over text, or
             online. Disturbing the peace includes coercive control.

             "Coercive control" means a number of acts that unreasonably limit the free will and individual rights of any
             person protected by this restraining order. Examples include isolating them from friends, relatives, or other
             support; keeping them from food or basic needs; controlling or keeping track of them, including their
             movements, contacts, actions, money, or access to services; and making them do something by force, threat, or
             intimidation, including threats based on actual or suspected immigration status. Coercive control includes
             reproductive coercion meaning controlling someone's reproductive choices, such as using force, threat, or
             intimidation to pressure someone to be or not be pregnant, and to control or interfere with someone's
             contraception, birth control, pregnancy, or access to health information.

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 11      No-Contact Order                    Not requested        Denied until the hearing      ✔ Granted as follows:


         a. You must not contact ✔ the person in 1           ✔ the persons in 3

            directly or indirectly, by any means, including by telephone, mail, email, or other electronic means.

         b.       Exception to 11a:
              (1)    You may have brief and peaceful contact with the person in 1 only to communicate about your
                     children for court-ordered visits.
              (2)    You may have contact with your children only during court-ordered contact or visits.
              (3)       Other (explain):

         c. Peaceful written contact through a lawyer or process server or another person for service of legal papers related
            to a court case is allowed and does not violate this order.



 12      Stay-Away Order                   Not requested         Denied until the hearing     ✔ Granted as follows:


         a. You must stay at least (specify): 100            yards away from (check all that apply):
            ✔ Person in 1 .                                    School of person in 1 .
            ✔ Home of person in 1 .                          ✔ Persons in 3 .
            ✔ Job or workplace of person in 1 .              ✔ Children’s school or child care.
            ✔ Vehicle of person in 1 .                       ✔ Other (explain):
                                                                                Children's extracurricular activities
         b.       Exception to 12a:
              The stay-away orders do not apply:
              (1)    For you to exchange your children for court-ordered visits. You must do so briefly and peacefully.
              (2)    For you to visit with your children for court-ordered contact or visits.
              (3)    Other (explain):




 13      Order to Move Out                 ✔ Not requested        Denied until the hearing        Granted as follows:
         You must take only personal clothing and belongings needed until the hearing and move out immediately from
         (address):



 14      Other Orders                ✔ Not requested       Denied until the hearing         Granted as follows:




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 15      Child Custody and Visitation                     Not requested        Denied until the hearing      ✔ Granted as follows:

         Granted on the attached form DV-140 , Child Custody and Visitation Order, and
              (list other form):                                                                               .




 16      Protect Animals                ✔ Not requested         Denied until the hearing           Granted as follows:
         a.        You must stay at least               yards away from the animals listed below.
         b.        You must not take, sell, hide, molest, attack, strike, threaten, harm, get rid of, transfer, or borrow against the
                   animals.

         c.        The person in 1 is given the sole possession, care, and control of the animals listed below.
              Name (or other way to ID animal)        Type of animal             Breed (if known)          Color




 17      Control of Property                  Not requested          Denied until the hearing          Granted as follows:
         Until the hearing, only the person in 1 can use, control, and possess the following property:




 18      Health and Other Insurance                      Not requested        Denied until the hearing        Granted as follows:
         The person       in 1       in 2 is ordered not to cash, borrow against, cancel, transfer, dispose of, or change
         the beneficiaries of any insurance or coverage held for the benefit of the parties—or their children, if any—for
         whom support may be ordered, or both.




 19      Record Communications                        Not requested         Denied until the hearing        ✔ Granted as follows:

         The person in 1 may record communications made by the person in 2 that violate this order.




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 20       Property Restraint               Not requested        Denied until the hearing       ✔ Granted as follows:

          The person       in 1 ✔ in 2 must not transfer, borrow against, sell, hide, or get rid of or destroy any property,
          including animals, except in the usual course of business or for necessities of life. In addition, each person must
          notify the other of any new or big expenses and explain them to the court. (If the court granted 11 , the person in 2
          must not contact the person in 1 . To notify the person in 1 of new or big expenses, have a server mail or
          personally give the information to the person in 1 or contact their lawyer, if they have one.)




 21       Pay Debts Owed for Property               ✔ Not requested         Denied until the hearing         Granted as follows:
          The person in 2 must make these payments until this order ends:
          Pay to:                        For:                  Amount: $                     Due date:
          Pay to:                            For:                  Amount: $                 Due date:
          Pay to:                            For:                  Amount: $                 Due date:



 22       Orders That May Be Made at the Hearing Date (Court Date)
          If the person in 1 checked any of these orders on form DV-100, a judge could grant them at your court date.
          • Child Support              • Lawyer’s Fees and Costs                 • Batterer Intervention Program
          • Spousal Support            • Pay Expenses Caused by Abuse            • Transfer of Wireless Phone Account


 23       No Fee to Serve (Notify) Restrained Person
          The sheriff or marshal will serve this order for free. If you want the sheriff to serve your papers, complete form
          SER-001, Request for Sheriff to Serve Court Papers. Give form SER-001 and a copy of this order to the sheriff.



 24       ✔    Attached Pages (All of the attached pages are part of this order.)
          a. Number of pages attached to this nine-page form:     9
          b. Attachments include forms (check all that apply):
             ✔ DV-140       ✔ DV-145          DV-820        ✔ Other: DV-109




Judge's Signature

Date: 09/25/2024


                                                                                 Judge or Judicial Officer
                                                    This is a Court Order.
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                                           Certificate of Compliance With VAWA
 This temporary protective order meets all “full faith and credit” requirements of the Violence Against Women Act,
 18 U.S.C. section 2265 (1994) (VAWA), upon notice of the restrained person. This court has jurisdiction over the
 parties and the subject matter; the restrained person has been or will be afforded notice and a timely opportunity to be
 heard as provided by the laws of this jurisdiction. This order is valid and entitled to enforcement in each jurisdiction
 throughout the 50 states of the United States, the District of Columbia, all tribal lands, and all U.S. territories,
 commonwealths, and possessions and shall be enforced as if it were an order of that jurisdiction.



                                Warnings and Notices to the Restrained Person in 2


Your Address to Receive Court Orders
If the judge makes a restraining order at the hearing (court date), which has the same orders as in this Temporary
Restraining Order, you will get a copy of that order by mail at your last known address, which is written in 2 on page 1.
If your address was not listed on this form or is incorrect, contact the court. If you did not attend your hearing and want to
know if the judge granted a restraining order against you, contact the court.



Child Custody, Visitation, and Support
• Child custody and visitation: If you do not attend your hearing (court date), the judge can make custody and
   visitation orders for your children without hearing from you.

• Child support: The judge can order child support based on the income of both parents. The judge can also have
   that support taken directly from a parent's paycheck. Child support can be a lot of money, and usually you have to
   pay until the child is age 18. File and serve form FL-150, Income and Expense Declaration, or form FL-155,
   Financial Statement (Simplified), if you want the judge to have information about your finances. Otherwise, the
   court may make support orders without hearing from you.

• Spousal support: File and serve form FL-150, Income and Expense Declaration, so the judge will have
   information about your finances. Otherwise, the court may make support orders without hearing from you.




Firearms (Guns), Firearm Parts, and Ammunition
Under California law, you cannot have any firearms (guns), certain firearm parts, or ammunition. (Family Code sections
6216 and 6389(a)). Ask the court for information on how to properly turn in, sell, or store these items in your city or
county. You can also contact your local police department for instructions.




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                                         Instructions for Law Enforcement

This order is effective when made. It is enforceable by any law enforcement agency that has received the order, is shown
a copy of the order, or has verified its existence on the California Law Enforcement Telecommunications System
(CLETS). If the law enforcement agency has not received proof of service on the restrained person, and the restrained
person was not present at the court hearing, the agency shall advise the restrained person of the terms of the order and
then shall enforce it. Violations of this order are subject to criminal penalties.


Duties of Officer Serving This Order
The officer who serves this order on the Restrained Person must do the following:
• Ask if the Restrained Person is in possession of any of the prohibited items listed in 6 , or has custody or
   control of any that they have not already turned in.
• Order the Restrained Person to immediately surrender to you all prohibited items.
• Issue a receipt to the Restrained Person for all prohibited items that have been surrendered.
• Complete a proof of personal service and file it with the court. You may use form DV-200 for this purpose.
   Within one business day of service, submit the proof of service directly into the California Restraining and
   Protective Order System (CARPOS), including the serving officer’s name and law enforcement agency.



Arrest Required if Order Is Violated
If an officer has probable cause to believe that the restrained person had notice of the order and has disobeyed the order,
the officer must arrest the restrained person. (Penal Code sections 836(c)(1), 13701(b).) A violation of the order may be
a violation of Penal Code section 166 or 273.6.



If the Protected Person Contacts the Restrained Person
Even if the protected person invites or consents to contact with the restrained person, the orders remain in effect and must
be enforced. The protected person cannot be arrested for inviting or consenting to contact with the restrained person. The
orders can be changed only by another court order. (Penal Code section 13710(b).)



Child Custody and Visitation
Child custody and visitation orders are listed on form DV-140 or another attached form. If the judge made these
orders, look at 11 and 12 of this order to see if the judge granted an exception for brief and peaceful contact with the
person in 1 as needed to follow court-ordered visits. Contact by the person in 2 that is not brief and peaceful is a
violation of this order. Forms DV-100 and DV-105 are not orders. Do not enforce them.




                                                This is a Court Order.
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Conflicting Orders—Priorities for Enforcement
If more than one restraining order has been issued protecting the protected person from the restrained
person, the orders must be enforced in the following priority (see Penal Code section 136.2 and Family Code
sections 6383(h)(2), 6405(b)):
     1. Emergency Protective Order (EPO): If one of the orders is an Emergency Protective Order (form EPO-001),
        provisions (e.g., stay away order) that are more restrictive than in the other restraining/protective orders must
        be enforced. Provisions of another order that do not conflict with the EPO must be enforced.
     2. No-Contact Order: If a restraining/protective order includes a no-contact order, the no-contact order must be
        enforced. Item 11 is an example of a no-contact order.

     3. Criminal Protective Order (CPO): If none of the orders include an EPO or a no-contact order, the most recent
        CPO must be enforced. (Family Code sections 6383(h)(2) and 6405(b).) Additionally, a CPO issued in a criminal
        case involving charges of domestic violence, Penal Code sections 261, 261.5, or former 262, or charges requiring
        sex offender registration must be enforced over any civil court order. (Penal Code section 136.2(e)(2).) All
        provisions in the civil court order that do not conflict with the CPO must be enforced.

     4. Civil Restraining Orders: If there is more than one civil restraining order (e.g., domestic violence, juvenile,
        elder abuse, civil harassment), then the order that was issued last must be enforced. Provisions that do not conflict
        with the most recent civil restraining order must be enforced.




                                              (The clerk will fill out this part.)


Instructions to Clerk: You must give up to three free (certified, stamped, and endorsed) copies of this order to the
protected party.


                                                —Clerk's Certificate—
     Clerk’s Certificate
     [seal]
                               I certify that this Temporary Restraining Order is a true and correct copy of the
                               original on file in the court.


                                Date:                          Clerk, by                                       , Deputy




                                                 This is a Court Order.
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         DV-109
                                                                                           Clerk stamps date here when form is filed.
                                             Notice of Court Hearing

    Instruction: The person asking for a restraining order must complete
    items 1 and 2 . The court will complete the rest of this form.



  1      Person Asking for Protection
         Name: Rula Nabil Khoury Cavaco Dias

                                                                                        Fill in court name and street address:
                                                                                         Superior Court of California, County of
  2      Person to Be Restrained                                                         Alameda
         Name: Casimiro Jose Canha Cavaco Dias                                           Hayward Hall of Justice
                                                                                         24405 Amador Street
                                                                                         Hayward, CA. 94544


                                                                                        Court fills in case number when form is filed.
 3       Notice of Hearing
                                                                                         Case Number:
         A court hearing is scheduled on the request for restraining
         orders against the person in 2 :                                                               24FL092755


                                                                           Name and address of court if different from above:
                                                                           In Person
                              Date: 05/06/2025         Time:   1:30PM
                              Dept.:    510            Room:

          You may attend your court date remotely, such as by phone or videoconference. For more information, go to the
          court's website for the county listed above. To find the court's website, go to:www.courts.ca.gov/find-my-court.htm.

          At the hearing, the court must consider whether failure to make any of the orders requested by the person in 1
          might risk the safety of the person in 1 or any children listed on form DV-105. If child or spousal support was
          requested, the court must consider whether failure to make support orders would risk the safety of the person in 1
          or any children listed on form DV-105.


         To the person in 2 :

         • If you attend the hearing (in person, by phone, or by videoconference) and the judge grants a restraining order
             against you, the order will be effective immediately, and you could be arrested if you violate the order.

         • If you do not attend the hearing, the judge may still grant the restraining order that could last up to five years.
             After you receive a copy of the order, you could be arrested if you violate the order.




Judicial Council of California, www.courts.ca.gov
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Family Code, §§ 242, 6320.5                            (Domestic Violence Prevention)
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 4       Temporary Restraining Orders (Any orders granted are attached on form DV-110.)
         a. Temporary Restraining Orders (any order requested under Family Code section 6320): (check one)
             (1) ✔ All granted until the court hearing.
             (2)   All denied until the court hearing. (Reasons for denial are given below in b.)
             (3)   Partly granted and partly denied until the court hearing. (Reasons for denial are given in b.)

        b.       Reasons for denial of some or all of the orders requested on form DV-100.
             (1)    The facts given in the request (form DV-100) do not show reasonable proof of a past act or acts of abuse.
                    (Family Code sections 6300, 6320, and 6320.5.)
             (2)    The facts given in the request do not give enough detail about the most recent incidents of abuse,
                    including what happened, the dates, who did what to whom, or any injuries or history of abuse.
             (3)    Other reasons for denial:




 5      Confidential Information Regarding Minor
        a.   A request to keep minor's information confidential was made (see form DV-160) and granted. (See form
                   DV-165, Order on Request to Keep Minor's Information Confidential, served with this form.)
        b. If the request was granted, the information described on the order (form DV-165, item 7 ) must be kept
           CONFIDENTIAL. The disclosure or misuse of the information is punishable as a sanction, with a fine of
           up to $1,000 or other court penalties.



 6      Service of Documents by the Person in 1
        At least ✔ five                days before the hearing, someone age 18 or older—not you or anyone to be
        protected—must personally give (serve) a court file-stamped copy of this form (DV-109, Notice of Court
        Hearing) to the person in 2 along with a copy of all the forms indicated below:
        a. DV-100, Request for Domestic Violence Restraining Order (file-stamped)
        b.    ✔    DV-110, Temporary Restraining Order (file-stamped), if granted
        c. DV-120, Response to Request for Domestic Violence Restraining Order (blank form)
        d. DV-120-INFO, How Can I Respond to a Request for Domestic Violence Restraining Order?
        e.   DV-170, Notice of Order Protecting Information of Minor, and DV-165, Order on Request to Keep Minor's
             Information Confidential (file-stamped), if granted
        f.         Other (specify):



        Judge's Signature
        Date:   09/25/2024
                                                                  Judicial Officer


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                                                        To the Person in 1 :
• At the hearing: The judge will decide if a restraining order is needed to keep you or your children safe. If the judge
  grants you a restraining order at the hearing, it can last up to five years. You must attend the hearing if you want the
  judge to make any of the orders you requested on form DV-100. Bring any evidence or witnesses you have. For more
  information, read form DV-520-INFO, Get Ready for Your Restraining Order Court Hearing.

• Option to cancel hearing: If item 4 a(2) or 4 a(3) is checked, you have the option of canceling the hearing. If you
  cancel the hearing, your request for restraining order will not move forward. Any temporary orders made will expire
  on the day of the hearing. If you want to cancel the hearing, use form DV-112, Waiver of Hearing on Denied Request
  for Temporary Restraining Order.

• Before the hearing: You must have someone personally serve (give) the person in 2 a copy of all the papers listed
  in 6 by the deadline listed in 6 . For more information, read form DV-200-INFO, What Is “Proof of Personal
  Service”? You may ask to reschedule the hearing if you are unable to serve the person in 2 and need more time to
  serve the documents, or for other good reasons. Read form DV-115-INFO, How to Ask for a New Hearing Date.


                                                       To the Person in 2 :
• Respond in writing (optional): You can respond in writing by completing form DV-120, Response to Request for
    Domestic Violence Restraining Order. For more information, read form DV-120-INFO, How Can I Respond to a
    Request for Domestic Violence Restraining Order?

• At the hearing: Whether or not you respond in writing, attend the hearing if you want the judge to hear from you
    before making an order. At the hearing, tell the judge why you agree or disagree with the orders requested. Bring any
    evidence or witnesses you have. Read form DV-520-INFO, Get Ready for Your Restraining Order Court Hearing.

• If you are unable to attend your court hearing or need more time to prepare your case, you may ask the judge to
   reschedule your court date. Read form DV-115-INFO, How to Ask for a New Hearing Date.


                       Request for Accommodations
                       Assistive listening systems, computer-assisted real-time captioning, or sign language interpreter services
                       are available if you ask at least five days before the hearing. Contact the clerk’s office or go to
                       www.courts.ca.gov/forms for Disability Accommodation Request (form MC-410). (Civil Code section
                       54.8.)

                                                      (Clerk will fill out this part.)

            Clerk’s Certificate                        —Clerk's Certificate—
                  [seal]
                                      I certify that this Notice of Court Hearing is a true and correct copy of the original on file
                                       in the court.

                                      Date:                           Clerk, by                                           , Deputy


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                                                     Notice of Court Hearing                                       DV-109, Page 3 of 3
                                                   (Domestic Violence Prevention)
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                                                                                                 Case Number:
       DV-140                           Child Custody and Visitation Order
                                                                                                            24FL092755
This form is attached to (check one):                      ✔   DV-110      DV-130

  1      Name of Protected Person: Rula Nabil Khoury Cavaco Dias
         Relationship to children:                ✔   Parent     Legal Guardian     Other (describe):


  2      Name of Restrained Person: Casimiro Jose Canha Cavaco Dias
         Relationship to children:                ✔   Parent     Legal Guardian     Other (describe):


  3       ✔  Children Under 18 Years Old
          a. Name: Ines Khoury Cavaco Dias                                                Date of birth:         10/11/2014
          b. Name: Nuria Khoury Cavaco Dias                                               Date of birth:         04/05/2016
          c. Name: Casimiro Khoury Cavaco Dias                                            Date of birth:         10/30/2017
          d. Name:                                                                        Date of birth:
                (Check here if you have more children to list. On a separate piece of paper write "DV-140, Children" at the top
                and attach it to this form.)



  4      ✔    No Travel With Children Without Permission
             Person in 1        ✔ Person in 2            Other (name):
          must have written permission from the other parent, or a court order, to take the children outside of:
          a. ✔ County of (list): Alameda
          b. ✔ State of California
          c. ✔ United States
          d.    Other place(s) (list):



  5       ✔   Stop Access to Children's School, Health, and Other Information
          a. The person in 2 must not access or have access to the records or information for:
             ✔ All the children listed in 3 .

               Only the children listed here (names):

          b. From the following (check all that apply):
             ✔ Medical, dental, and mental health providers

             ✔ School and daycare providers
             ✔ Extracurricular activity providers, including summer camps and sports teams

                 Child's employers (including volunteer and unpaid positions)
                 Other (describe):
              If you are a provider listed above, you must not release information or records regarding the children
              listed in 5 a to the person in 2 .

                                                                    This is a Court Order.
Judicial Council of California, www.courts.ca.gov
                                                           Child Custody and Visitation Order                       DV-140, Page 1 of 4
Rev. January 1, 2024, Mandatory Form
Family Code, §§ 3011, 3020, 3022,–3040 3043, 3100, 6340,
7604
                                                                (Domestic Violence Prevention)
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                                                                                              Case Number:
                                                                                              24FL092755

  6       ✔   Judge's Decision on Request for Orders to Prevent Child Abduction (attach form DV-145)


  7      ✔    Child Custody
          a. Legal Custody (The person that makes decisions about the child's health, education, and welfare.)
             ✔ Sole to Person in 1             Jointly (shared) by persons in 1 and 2 .
               Sole to Person in 2             Other (describe):

          b. Physical Custody (The person that the child regularly lives with.)
             ✔ Sole to Person in 1               Jointly (shared) by persons in 1 and 2 .
                Sole to Person in 2              Other (describe):

         c. If the judge granted sole or joint custody to the person in 2 , the judge must explain why.
              (For judge to complete. Check all that apply):
                 Judge's reasons given at the hearing (See minute order or ask for the transcript.)
                 Judge's reasons listed here:




  8       ✔   Person in 2 must have no visitation with children until further order of the court.
         (If this form is attached to form DV-110, Temporary Restraining Order, this means that the judge has stopped your
         right to visit with your children temporarily. If you do not agree with this order, attend your court hearing.)


  9           Supervised (Monitored) Visitation with Children
         a. Person to be supervised:           Person in 1         Person in 2    by:
                       Nonprofessional (name and relationship to child, if known):
                   Professional (name, if known):
                 (1) Fees paid by: Person in 1               % Person in 2           % Other:                                       %
                 (2) Person in 1 contact provider by (date):
                         Person in 2 contact provider by (date):

         b. Provider's contact information, if known
            Address:                                                                                  Telephone:

         c. Schedule of supervised visits
            (1)   Once a week, for (number of hours):
            (2)   Twice a week, for (number of hours):                                  each visit.
            (3)   Follow the Visitation Schedule listed in 12 .
            (4)   Other schedule (describe):

                                                          This is a Court Order.
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                                                  Child Custody and Visitation Order                                DV-140, Page 2 of 4
                                                        (Domestic Violence Prevention)
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                                                                                            Case Number:
                                                                                                       24FL092755

10            Supervised (Monitored) Child Exchanges (Use item 11 to describe visitation schedule.)
         a. Person to be supervised:        Person in 1         Person in 2 by:

                  Nonprofessional (name and relationship to child):
               Safe location for exchanges:
               (For more information on safe locations, go to https://selfhelp.courts.ca.gov/guide-supervised-visitation.)

                  Professional (list name, if known):
               (1) Fees paid by: Person in 1          %       Person in 2         %   Other:                                 %
               (2) Person in 1 contact provider by (date):
                   Person in 2 contact provider by (date):
               (3) Location of exchanges to be decided by provider.

         b. Provider's contact information, if known:
            Address:                                                                            Telephone:



11            Visits With No Supervision (Unmonitored)
         a. If the judge granted unsupervised visits to the person in 2 , the judge must explain why.
               (For judge to complete. Check all that apply):
                  Judge's reasons given at the hearing (See minute order or ask for the transcript.)
                  Judge's reasons listed here:




         b.         Person in 1      Person in 2 will visit with the children as follows:
              (1)      Visitation schedule described below:




              (2)      Follow the Visitation Schedule listed in 12 .



                                                          This is a Court Order.
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                                                                                                      24FL092755

 12         Visitation Schedule for Person in 2

                                                             Person to bring children to          Location of drop-off/pick-up
                                   Time                            and from visit
                        Start:
             Monday
                        End, if applies:

             Tuesday    Start:
                        End, if applies:

           Wednesday Start:
                     End, if applies:
                        Start:
            Thursday
                        End, if applies:
                        Start:
               Friday
                        End, if applies:
                        Start:
             Saturday
                        End, if applies:
                        Start:
              Sunday
                        End, if applies:
            Follow the schedule listed above (check one):
               Every week           Every other week              Other
            Start date for visits (month, day, year)



13            Other Orders
         (Describe additional orders or refer to an attachment (e.g., FL-341(C), Children's Holiday Schedule Attachment)):




14       Country of Habitual Residence
         The country of habitual residence of the child or children in this case is   ✔    The United States
         or    Other (specify):                                                                                              .

15       Jurisdiction and Notice
         This court has jurisdiction to make child custody orders in this case under the Uniform Child Custody Jurisdiction
         and Enforcement Act (part 3 of the California Family Code starting with section 3400). The responding party was
         given notice consistent with the laws of the State of California.

16       Penalties for Violating This Order
         If you violate this order, you may be subject to civil or criminal penalties, or both.

                                                       This is a Court Order.
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                                                    (Domestic Violence Prevention)
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                                                                                                    Case Number:
        DV-145                             Order to Prevent Child Abduction
                                                                                                              24FL092755
This form is attached to DV-140, Child Custody and Visitation Order.
  1       Name of Protected Person: Rula Nabil Khoury Cavaco Dias
          Relationship to children:                 ✔   Parent      Legal Guardian     Other (describe):

  2       Name of Restrained Person: Casimiro Jose Canha Cavaco Dias
          Relationship to children:                 ✔   Parent      Legal Guardian     Other (describe):

  3       Court's Decision
          Based on the information given, the judge finds that:
          a.   There is not a risk that the person in 2 might take the children without proper permission. The judge has
               not granted any of the orders in 4 – 12 .

          b. ✔ There is a risk that the person in 2 might take the children without permission because person in 2 :
                   (Check all that apply):
                   (1) Has violated or threatened to violate a custody or visitation order.
                    (2) ✔ Does not have strong ties to California.
                    (3)   Has done things recently that make it easy to take the children (check all that apply):
                            Quit a job                           Sold a home or ended a lease
                            Closed a bank account                Hidden or destroyed documents
                            Sold or gotten rid of property       Applied for a passport, birth certificate, or school or
                                                                 medical records
                    (4) ✔ Has a history of (check all that apply):
                          ✔ Abusing person in 1                  Taking the children without permission
                            Abusing other partners               Not cooperating with person 1 in parenting
                            Child abuse
                    (5)        Has a criminal record
                    (6) ✔ Has strong ties in:
                            Another county in California (list county):
                            Another state (list states):
                          ✔ Another country (list country): Portugal/Armania


                    (7) ✔ Is a citizen of another country (list country): Portugal
                    (8)        Other reasons:



The Orders are Granted as Follows:
  4       ✔     Do Not Move Without Written Permission of the Other Parent or Court Order
          The person in 2 must not move with the children outside
          ✔ This county        ✔ California       ✔ The United States        Other (specify):
          without written permission from the other parent or a court order.

                                                                    This is a Court Order.
Judicial Council of California, www.courts.ca.gov
Rev. January 1, 2023, Mandatory Form                       Order to Prevent Child Abduction                          DV-145, Page 1 of 2
Family Code, § 3048, 22 USC § 9001 et seq.
                                                                 (Domestic Violence Prevention)
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                                                                                       Case Number:

                                                                                                   24FL092755

  5      ✔    Turn In and Do Not Apply for Passports or Other Important Documents
         Person in 2 must not apply for passports or other documents that can be used for travel, like visas and birth
         certificates, and must turn in the following documents: N/A
         by (date):                                  to (name):

  6           Provide Travel Plan and Documents
          Person in 2 must give the person in 1 the following before traveling with the children (check all that apply):
             Children's travel schedule
             Copies of round-trip airline tickets
             Addresses and telephone numbers where children can be reached
             An open airline ticket for the person in 1 in case the children are not returned
             Other (describe):

  7           Notify Other State of Travel Restrictions
         Person in 2 must register this order with (list county and state):
         before the children can travel to that state for visits.


  8       ✔   Notify Foreign Embassy or Consulate of Passport Restrictions
          Person in 2 must notify (name of embassy or consulate): U.S. embassy in Armania
          of this order and provide the court with proof of the notice by (date): 05/06/2025


  9           Foreign Custody and Visitation Order
          Person in 2 must get a custody and visitation order equal to the most recent U.S. order before the children can
          travel to (list country):                                                                        for visits.
          The court recognizes that foreign orders may be changed or enforced depending on the laws of that country.


 10           Post a Bond
         The person in 2 must post a bond for $                        .

 11       ✔   Enforcing Order
          The court authorizes any law enforcement officer to enforce this order. In this county, contact the Child
          Abduction Unit of the Office of the District Attorney at: 510-267-8800


 12            Other (list other orders or jurisdictional factors):


Notice to Authorities in Other States and Countries: This court has jurisdiction to make child custody
orders under California’s Uniform Child Custody Jurisdiction and Enforcement Act (California Family Code, part 3,
section 3400 et seq.) and The Hague Convention on the Civil Aspects of International Child Abduction (22 U.S.C.
section 9001 et seq.). If jurisdiction is based on other factors, they will be listed above in 12 .

                                                     This is a Court Order.
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                                                  (Domestic Violence Prevention)
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                                                                                  Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
                COUNTY OF ALAMEDA
COURTHOUSE ADDRESS:
Hayward Hall of Justice
24405 Amador Street, Hayward, CA 94544
PLAINTIFF/PETITIONER:
Rula Nabil Khoury Cavaco Dias
DEFENDANT/RESPONDENT:
Casimiro Jose Canha Cavaco Dias
                                                                            CASE NUMBER:
     CERTIFICATE OF ELECTRONIC SERVICE CODE OF CIVIL
                    PROCEDURE 1010.6                                        24FL092755


I, the below named Executive Officer/Clerk of Court of the above-entitled court, do hereby certify that I am
not a party to the cause herein, and that on this date I served one copy of the Temporary Restraining Order
(Domestic Violence Prevention) (DV-110) entered herein upon each party or counsel of record in the above
entitled action, by electronically serving the document(s) from my place of business, in accordance with
standard court practices.




    Leslie R Azcona                                            Michelle Marie Jacobson-Kwok
    Leslie Robin Azcona, Attorney at Law                       List Jacobson-Kwok Thorndal, LLP
    lr_azcona@yahoo.com                                        michelle@ljtlawgroup.com




                                                     Chad Finke, Executive Officer / Clerk of the Court
Dated: 03/05/2025                                    By:




                                    CERTIFICATE OF ELECTRONIC SERVICE
                                      CODE OF CIVIL PROCEDURE 1010.6
